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                      IN THE UNITED STATES DISTRICT COURT
                        IN THE WESTERN DISTRICT OF TEXAS
                                 PECOS DIVISION

JOHN P. BOERSCHIG                         §
                                          §
V.                                        §    NO. 4:16-CV-056 RAJ
                                          §
TRANS-PECOS PIPELINE, LLC                 §
                                          §


                   FINAL ORDER OF DISMISSAL WITH PREJUDICE

       It is ORDERED the above-styled and numbered cause is DISMISSED WITH

PREJUDICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and based upon the Parties

Stipulation of Dismissal [Doc. 41] filed January 11, 2018.

       IT IS FURTHER ORDERED that all attorney’s fees, expenses and court costs shall

be borne by the party incurring same. All other relief not expressly granted herein is

DENIED.

       IT IS FINALLY ORDERED that all pending motions, if any, are DENIED AS

MOOT.

       SIGNED this 12th day of January, 2018.




                                ROBERT JUNELL
                                SENIOR U. S. DISTRICT JUDGE
